                              Case 1:23-mj-00076-RMM Document 5 Filed 04/11/23 Page 1 of 1




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            I\/\\) Arrest Wa
AO 442 (Rev

                                            UNITED STATES DlSTRlCT                                           OURT
                                                                                for the

                                                                      District of Columbia

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                                   ·etendant

                                                                    ARREST WARRANT

                                enforcement officer                                                                                unnecessary delay
  To:        Anv authorized law                                                                                   ju d ge withou t
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            YOU ARE C                                                              Ro ckne Gerard
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                        an offense or viol
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                                                   Indic tm ent          CJ Information                              ation Noti c
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                             CJ Supe   rse din g                                                            0  V iol
       Indictment                                                                 iolation Petition
                                        n          CJ Su  pe rvi s ed Release V
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       Probation Violati
                                         d as follows :
                      briefly describe
   This offens e is
                            )(3) (Civil Dis
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      18 U.S.C. § 23 l(a I) (Assaulting, Resisting, or !Jn p stricted Building or Qrounds) c;rounds) ;
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      I8 U.S.C. § 11 I(a)(
                       752(a)( I) (Enter
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      l 8 U .s.C. § l 7                      i ng in Phy
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                             (a)(4) (Engag                             onduct in a C
       18 U  .S.C. §  J 7 52
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                                      ),(F) & (G) (   Di s o rde rly C
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                                                                         l B uilding) •                      1,,t ...... -,,,� -04'00'
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      40 U.S. C. §                    n g, or  P ickel                                               •
                       Demonstrati                                                                                             Issu ing officer
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